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                 APPENDIX B
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                References to Microsoft Materials Where No Redaction Needed

   Motion to  Sealed                                     Description
   Seal Dkt. Document
     No.     Dkt. No.1
      605        597-1      Excerpts from the Expert Report of Robin S. Lee on behalf of
                            Plaintiffs
                                 Pg. 70, n. 219 (cite to and quote from ATT-GCID-00000730)
                                 Pg. 70, n. 219 (cite to and quote from MSFT-LIT-
                                    0000065289)
                                 Pg. 113, n. 375 (cite to and quote from MSFT-LIT-
                                    0000046646)
                                 Pg. 113, n. 376 (cite to and quote from MSFT-LIT-
                                    0000046646)
                                 Pg. 183, n. 634 (noting that Xandr produced publisher ad
                                    server data)
                                 Pg. 266, n. 908 (cite to and quote from the 30(b)(6)
                                    deposition of Microsoft)
      605        597-4      Excerpts from the Expert Report of Gabriel Weintraub on behalf of
                            Plaintiffs
                                 Pg. 39, n. 159 (cite to and quote from the 30(b)(6) deposition
                                    of Microsoft)
                                 Pg. 139, n. 158 (cite to and quote from the 30(b)(6)
                                    deposition of Microsoft)
                                 Pg. 140, n. 162 (cite to and quote from the 30(b)(6)
                                    deposition of Microsoft)
                                 Pg. 110, n. 380 (cite to and quote from the 30(b)(6)
                                    deposition of Microsoft)
                                 Pg. 111, n. 384 (cite to and quote from the 30(b)(6)
                                    deposition of Microsoft)
      605        597-5      Excerpts from the Expert Report of Timothy Simcoe on behalf of
                            Plaintiffs
                                 Figure 14
      605        597-8      Excerpts from the transcript of the deposition of Robin S. Lee, expert
                            witness on behalf of the Plaintiffs
                                 Tr. 285:2-286:4 (discussion of MSFT-LIT-0000000137)
      605        598-1      Exhibit 24 to Microsoft 30(b)(6) deposition (demonstrative of the
                            Microsoft Advertising Ecosystem)



  1
    In many instances, the Parties have filed both (1) redacted versions of the documents or
  slipsheets noting a document was filed under seal and (2) sealed versions of the documents.
  Compare, e.g., Dkt. Nos. 581-1 and 597-1. For ease of review by the Court, the docket numbers
  included in this appendix refer to the sealed versions.
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   Motion to  Sealed                                Description
   Seal Dkt. Document
     No.     Dkt. No.1
      605      599-6     Excerpts from the Expert Report of Judith A. Chevalier on behalf of
                         Google
                              Figure 17
      605      604-2     Excerpts from the Expert Rebuttal Report of Timothy Simcoe on
                         behalf of Plaintiffs
                              Pg. 24 (reference to Xandr)
                              Fn. 81 (cite to MSFT-LIT-0000002971)
                              Figure 3
      605       571      Google LLC’s Memorandum of Law in Support of Its Motion for
                         Summary Judgment
                              Pg. 5, n.3 (cite to Ex. 9)
                              Pg. 6, para. 16 (reference to “Microsoft” and cites to Exs. 9
                                 and 24)
                              Pg. 6, para. 17 (cite to Ex. 29)
      661      663-1     Excerpts from the Expert Report of Robin S. Lee on behalf of
                         Plaintiffs
                              Para. 201, n. 262 (cite to and quote from the 30(b)(6)
                                 deposition of Microsoft)
                              Para. 224, n. 309 (cite to and quote from the 30(b)(6)
                                 deposition of Microsoft)
                              Para. 283, n. 375 (cite to and quote from MSFT-LIT-
                                 0000046646)
                              Para. 283, n. 376 (cite to and quote from MSFT-LIT-
                                 0000046646)
                              Para. 283, n. 377 (cite to MSFT-LIT-0000046646)
                              Para. 283, n. 379 (cite to and quote from MSFT-LIT-
                                 0000046646)
                              Para. 288, n. 384 (cite to MSFT-LIT-0000046646)
                              Para. 291, n. 391 (cite to MSFT-LIT-0000046646)
                              Para. 302, n. 414 (cite to and quote from MSFT-LIT-
                                 0000046646)
                              Para. 328, n. 478 (cite to and quote from ATT-GCID-
                                 00106990)
                              Para. 331 (statement about Xandr’s analysis)
                              Para. 331, n. 481 (cite to MSFT-LIT-0000039894)
                              Para. 346 (descriptions of and quotes from Xandr documents)
                              Para. 346, n. 502 (cite to and quote from ATT-GCID-
                                 0000001)
                              Para. 346, n. 503 (cite to MSFT-LIT-0000046646)
                              Para. 379 (quote from Xandr document)
                              Para. 379, n. 546 (cite to MSFT-LIT-0000046646)

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   Motion to  Sealed                                 Description
   Seal Dkt. Document
     No.     Dkt. No.1
                                Para. 395, n. 552 (reference to “Xandr”)
                                Para. 406, n. 567 (reference to “Xandr”)
                                Para. 445, n. 634 (reference to “Xandr”)
                                Para. 445, n. 636 (reference to “Xandr” in description of
                                 Figure 108)
      642       641      Plaintiffs’ Opposition to Google LLC’s Motion to Exclude the
                         Testimony of Dr. Timothy Simcoe
                              Pg. 18 (reference to “Xandr” and contextualizing its take rate)
      642      644-3     Excerpts from the Expert Rebuttal Report of Timothy Simcoe on
                         behalf of Plaintiffs
                              Para. 54, n. 81 (cite to MSFT-LIT-0000002971)
      642      644-7     Excerpts from the Expert Report of Mark Israel on behalf of Google
                         LLC
                              Pg. 272, n. 324 (cite to and quote from MSFT-LIT-
                                 0000001326)
      642      644-8     Excerpts from the Expert Report of Paul Milgrom on behalf of
                         Google LLC
                              Para. 240 (reference to “Xandr”)
                              Para. 240, n. 457 (cite to and quote from the 30(b)(6)
                                 deposition of Microsoft)
      712      709-1     Excerpts from the Expert Report of Robin S. Lee on behalf of
                         Plaintiffs
                               Para. 189, n. 246 (cite to and quote from MSFT-LIT-
                                  0000046646)
                               Appx. H, para. 2 (reference to “Xandr”)
                               Appx. H, para. 2, n. 1278 (cite to MSFT-LIT-0000073226)
      712      709-5     Excerpts from the Expert Rebuttal Report of Robin S. Lee on behalf
                         of Plaintiffs
                               Para. 471 (references to “Xandr”)
                               Para. 471, n. 734 (reference to “Xandr”)
                               Para. 528 (statement about Microsoft)
      712      709-13    Excerpts from the Expert Report of Rosa M. Abrantes-Metz on
                         behalf of Plaintiffs
                              Para. 120, n. 209 (cite to and quote from MSFT-LIT-
                                 0000065419)
                              Para. 120, nn. 210-214 (cites to ATT-GCID-00111923)
      738      740-1     Mahoney Declaration
                              Pg. 10 (reference to “Xandr”)
                              FN 25 (cite to Xandr data)



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   Motion to  Sealed                                Description
   Seal Dkt. Document
     No.     Dkt. No.1
      738      740-2     Excerpts from the Expert Rebuttal Report of Timothy Simcoe on
                         behalf of Plaintiffs
                             Pg. 6 (references to “Xandr”)
      667      658-5     Excerpts from the Deposition of Brian O’Kelley




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